                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:10-CR-00238-RJC


UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
                                                 )                     ORDER
v.                                               )
                                                 )
GERREN EZEKEIL DARTY,                            )
                                                 )
                 Defendant.                      )



       THIS MATTER is before the Court on the “Application for Admission to Practice Pro

Hac Vice [for Marcia G. Shein]” (document # 590) filed March 8, 2013. For the reasons set

forth therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Robert J. Conrad, Jr..


       SO ORDERED.


                                               Signed: March 8, 2013




       Case 3:10-cr-00238-RJC          Document 591         Filed 03/08/13    Page 1 of 1
